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              UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF TEXAS

                  PRO SE LITIGA T S CONSENT TO RECEIVE ELECTRONIC NOTICE
                          (For use by a non-prisoner pro se litigant only.)


 This consent form provides the opportunity to consent to receive a Notice of Electronic Filing
  (NEF) generated by the ECF system for each future document filed as a public entry in the case
  identified below. The NEF contains a hyperlink to the document, which may be accessed one
 time, within 15 days of the NEF s creation, without cost (the free look ). This form does not
 serve to seek permission from the court to electronically file. Pursuant to Local Rule C -5(a)(2)(B),
 you must have the Court's permission to electronically file documents in the ECF system.

 Printed Name:                      K UZV <1                        Case Number:


 Pro se Litigant s Acknowledgment of Electronic Notice Requirements

 As evidenced by my signature below I declare that I acknowledge, consent, and agree to the
 following:

     1. To notify the Court and other case participants, via a filing made in my case, when my
        contact information, including my email address, changes;
     2. To receive through ECF notice of court orders and Judgments under Fed. R. Civ. P. 77(d)
        and other filings entered therein and to waive service by other means under Fed. R. Civ.
        P. 5(b)(2) of all documents for which I was sent a NEF, unless service by electronic means
        is not allowed under the rules or due to the technical limitations of ECF. I further agree to
        accept email notice of any sealed document;
     3. To save each document I am served during the free look period or to be charged
        PACER s per-page rate if I remotely access a document outside of those provisions, or to
        view documents in person at the divisional Clerk's Offices in the Eastern District of Texas
        at no charge on a public access terminal if my PACER account is disabled;
     4. To advise the clerk if I am unable to access a document via a provision described above
        so I may request a courtesy regeneration of the NEF;
     5. That should I wish to withdraw my consent to receive electronic notice, I will make such
        request via a filing in my case; and
     6. That my ability to receive NEFs will be disabled should the Court decide that I am unable
        to fulfill these requirements. I further acknowledge that if this determination is made, I
        may receive notification of such from the clerk rather than a court order.


 Signature: O > i -                                                      Date:
 Printed Name: / t >i
 E-mail:


 Sign in ink and deliver or mail to the divisional office where your case is pending.
